         Case 1:18-cv-10225-MLW Document 642 Filed 06/24/24 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

                                           )
  LILIAN PAHOLA CALDERON JIMENEZ, )
  and LUIS GORDILLO, et al.,               )
                                           )
  Individually and on behalf of all others )
  similarly situated,                      )
                                                      )      C.A. No. 18-10225-ML W
                  Plaintiffs-Petitioners,             )
                                                      )
             V.                                       )
                                                      )
  ALEJANDRO MAYORKAS, et al.,                         )
                                                      )
                  Defendants-Respondents.             )
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                                       JOINT STATUS REPORT



they have finalized their settlement agreement for court review. Dkt. No. 639. The parties report

the following:

        1.        As previously submitted, the parties have reached an agreement in principle, but

continue to work toward finalizing the settlement agreement for court review, including seeking

approval from the Department of Justice.

       2.         The parties respectfully request additional time to finalize the agreement for court

review. The parties jointly request the case remain stayed until August 1, 2024, by which time

the parties will file a subsequent report on the parties' progress regarding settlement. If material

progress has not been made by the next status report, one or both parties may request that the

Court schedule a status conference, at the Court's earliest convenience, to discuss appropriate

steps to conclude the litigation.
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..   ..           Case 1:18-cv-10225-MLW Document 642 Filed 06/24/24 Page 2 of 2



          Respectfully submitted this 20th day of June 2024.
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